Case 2:Ol-CV-02780-SHI\/|-STA Document 246 Filed 04/27/05 Page 1 of 3 Page|D 282

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IN THE UNITED STATES DISTRICT COURT "M"`“h

 

FOR THE WESTERN DISTRICT oF TENNESSEE ~ .,,3 _
WESTERN DIVISION 03 r“ R 27 PH 3’ 145
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THE cLARK coNsTRUcTIoN GROUP, INc., m r- m yii:;;;:,;;;:;.{,$
Plaintiff,
VS. NO. 0l-2780~Ma/An

CITY OF MEMPHIS, ET AL.,

Defendants.

 

ORDER OF REFERENCE

 

Before the court is plaintiff's March ll, 2005, “emergency
motion to compel document production” (doc. # 231) in this matter.

The motion is hereby referred to the magistrate judge for a
determination. Any exceptions to the magistrate’s report shall be
made Within ten (lO) days of the report, setting forth particularly
those portions of the order excepted to and the reasons for the
exceptions.

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lt is so ORDERED this 2.] day of April, 2005.

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EL H. MAYS, JR.
TED STATES DISTRICT JUDGE

 

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Honorable Samuel Mays
US DISTRICT COURT

